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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

GAIL EPKIN,                                       §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §
                                                  §               No. 3:15-cv-00645-L
STATE FARM LLOYDS,                                §
JARED LEINENGER and                               §                JURY DEMAND
KEVIN JACKSON,                                    §
                                                  §
        Defendants.                               §


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Gail Epkin and Defendants State Farm Lloyds, Jared Leinenger and Kevin

Jackson hereby stipulate to the voluntary dismissal with prejudice of this matter, pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Therefore, Plaintiff’s claims against Defendants

State Farm Lloyds, Jared Leinenger and Kevin Jackson are hereby dismissed with prejudice,

with each party to bear its own costs, if any.

        SO STIPULATED, this the 7th day of July 2015.


                                                 Respectfully submitted,


                                                 /s/ Jacey L. Hornecker*
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                                            And


                                            /s/ Rhonda J. Thompson
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                                            Adrienne B. Hamil
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                                            STATE FARM LLOYDS, JARED
                                            LEINENGER AND KEVIN JACKSON



                               CERTIFICATE OF SERVICE

        The undersigned certifies that on the 7th day of July 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiff via electronic filing and e-mail in
accordance with the Federal Rules of Civil Procedure:

        Via Electronic Filing and E-mail:
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